

Matter of Giacona (2023 NY Slip Op 00611)





Matter of Giacona


2023 NY Slip Op 00611


Decided on February 3, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 3, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., PERADOTTO, MONTOUR, AND OGDEN, JJ. (Filed Jan. 18, 2023.)


&amp;em;

[*1]MATTER OF DOMINIC. GIACONA, AN ATTORNEY, RESPONDENT. GRIEVANCE COMMITTEE OF THE SEVENTH JUDICIAL DISTRICT, PETITIONER.



MEMORANDUM AND ORDER
Order of interim suspension entered pursuant to 22 NYCRR 1240.9. 








